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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

                                                              )
JANSSEN BIOTECH, INC.,                                        )
                Plaintiff,                                    )
                                                              )        Case No. 1:17-cv-11008-MLW
                                                              )
v.                                                            )
                                                              )
CELLTRION HEALTHCARE CO., LTD.,                               )
CELLTRION, INC., and                                          )
HOSPIRA, INC.                                                 )
                  Defendants.                                 )
                                                              )

              ASSENTED-TO MOTION FOR LEAVE TO FILE EXCESS PAGES

        Pursuant to Local Rule 7.1(b)(4) of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to exceed the parties’ agreed-to

twenty-page limit for reply briefs due on June 4 by two additional pages for its Reply Brief in

Support of its Motion for Summary Judgment on the Issue on Non-Infringing Alternatives. 1

Plaintiff submits that the additional pages are necessary to allow it to fully address all of the

issues raised in Defendants’ Opposition to Plaintiff’s Motion for Summary Judgment on the

Issue on Non-Infringing Alternatives.

        WHEREFORE, Plaintiff Janssen Biotech, Inc. and Defendants Celltrion Healthcare Co.,

Ltd., Celltrion, Inc., and Hospira Inc. respectfully request that this Court allow this Motion.




1
  The parties have agreed to a 20 page limit for reply briefs due on June 4, 2018 in connection with their summary
judgment motions and motions to exclude testimony.
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Dated: June 4, 2018                   Respectfully Submitted,
                                      JANSSEN BIOTECH, INC.

                                      By its attorneys,

                                      /s/ Alison C. Casey

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                                      Attorneys for Janssen Biotech, Inc.
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                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on June 4, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
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